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            9/30/2021
 DEBORAH S. HUNT, Clerk




           MICHELLE M. ROSE
           By Email




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This decision was mailed on :              March 02, 2018


A Request for Review before the U.C. Review Commission may be filed by any interested party within twenty-one calendar days
after this decision is mailed. Said twenty-one day period is calculated to end on March 23, 2018.

This decision of the Review Commission will be final if not appealed within the time limit described above.

The Request for Review must be in writing and signed by the appealing party or an authorized representative. The request should
set forth the reasons why the appellant disagrees with the Hearing Officer's decision. You may file your Request for Review by
mailing it to the U.C. Review Commission, PO Box 182299, Columbus, Ohio 43218-2299, or by faxing it to (614) 387-3694.




                                                                                                                                  *RCE118060X0000000040G*
This decision was sent to the following:

Michelle M. Rose - Interested Party
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RD
PAINESVILLE, OH 44077-9239
Via Email


University Hospitals Physician Services, Inc. - Interested Party
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